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              ORDERED in the Southern District of Florida on June 14, 2019.




                                                                          A. Jay Cristol, Judge
                                                                          United States Bankruptcy Court
_____________________________________________________________________________


                                       UNITED STATES BANKRUPTCY COURT
                                        SOUTHERN DISTRICT OF FLORIDA
                                                MIAMI DIVISION
                                               www.flsb.uscourts.gov

          In re:                                                         Case No.: 17-15581-AJC

          FRANK PIERRE AND YOLA PIERRE,                                  Chapter 7

                   Debtors.                                     /

                   ORDER APPROVING SETTLEMENT AGREEMENT BY AND BETWEEN
                           TRUSTEE AND OCWEN LOAN SERVICING LLC

                   THIS MATTER came before the Court upon the motion of Jacqueline Calderin, as

          Chapter 7 Trustee (the “Trustee”) of the bankruptcy estate of Frank Pierre and Yola Pierre

          (together, the “Debtors”), pursuant to Rule 9019 of the Federal Rules of Bankruptcy Procedure

          and Local Rules 9013-1(D) and 9019-1, to approve the Settlement Agreement1 entered into by

          and between the Trustee and Ocwen Loan Servicing, LLC (“Ocwen”) [ECF #126] (the

          “Motion”), the movant by submitting this form of order having represented that the Motion was


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            Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion or
          the Settlement Agreement, as applicable.
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served on all parties required by Bankruptcy Rule 2002 or Local Rule 2002-1(H), (I) or (J), that

the 21-day response time provided by Local Rule 9013-1(D) has expired, that no one has filed, or

served on the movant, a response to the Motion, and that the form of order was attached as an

exhibit to the Motion. The Court, having reviewed the Motion and having taken judicial notice

of the Court record in its entirety, finds that no objections to the Motion have been filed, that

sufficient and proper notice of the Motion was served on creditors and parties in interest, that the

Settlement Agreement satisfies the standard for approval set forth in In re Justice Oaks, II, Ltd.,

898 F.2d 1544, 1549 (11th Cir. 1990), and is reasonable and in the best interests of creditors and

the estate, and that good cause exists to approve the Settlement Agreement. Accordingly, the

Court ORDERS as follows:

       1.      The Motion is GRANTED.

       2.      The Settlement Agreement attached to the Motion as Exhibit “A” is

APPROVED.

       3.      The Trustee is authorized to take any and all actions and execute any and all

documents necessary to effectuate the terms of the Settlement Agreement.

       4.      Ocwen shall pay to the Trustee in the form of a check made payable to

“Jacqueline Calderin, Trustee for the estate of Frank Pierre and Yola Pierre” the total sum of

Twenty Thousand Dollars ($20,000.00) (the “Settlement Payment”). The Settlement Payment is

payable in one lump sum and must be received by the Trustee no later than thirty (30) days after

this Order approving the Settlement Agreement becomes a final, non-appealable Order and after

Ocwen’s receipt of a W-9 for the Trustee. The Settlement Payment shall be delivered to the

Trustee’s counsel, Tamara Van Heel, Esq., AGENTIS PLLC, 55 Alhambra Plaza, Suite 800,




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Coral Gables, Florida 33134. The check must clearly state the name of the Debtors and the case

number.

         5.       Upon this Order becoming a final, non-appealable Order, and clearance of the full

Settlement Payment in the Trustee’s account, the Trustee shall dismiss the Adversary Proceeding

with prejudice.

         6.       If Ocwen does not timely make the Settlement Payment as set forth herein, or

otherwise fails to comply with any of the obligations set forth in the Settlement Agreement, the

Trustee shall notify Ocwen of such default via email to counsel for Ocwen. If Ocwen does not

cure the default on or before thirty (30) days after such written notice is sent by the Trustee, the

Trustee shall be entitled to the immediate entry of a final judgment against Ocwen for the total

amount of the Settlement Payment ($20,00.00) in the Adversary Proceeding, plus the Trustee’s

reasonable fees and costs incurred in enforcing the Settlement Agreement upon motion and

notice, and Ocwen shall be deemed to have waived all defenses to the Adversary Proceeding and

to the avoidance of and recovery of the Transfer by the Trustee as a consequence of its default

         7.       The Court incorporates the terms of the Settlement Agreement into this Order and

reserves jurisdiction to enforce the terms of this Order and the Settlement Agreement.

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Submitted by:
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(Copy furnished to Attorney Van Heel, who is directed to serve a copy of this Order upon all interested parties)




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